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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                          :   Date of
                                                  :   Notice: January 10, 2023
               vs.                                :
                                                  :
EMMA SEMLER                                       :   CRIMINAL NO. 17-120
USM No. 75929-066
FDC Philadelphia
P.O. Box 562
Philadelphia, PA 19105

                                     NOTICE OF HEARING

                TAKE NOTICE that the above-named defendant has been scheduled for GUILTY
PLEA and SENTECING on February 10, 2023 at 10:00 A.M., before the Honorable Gene E. K.
Pratter in Courtroom 10-B of the United States District Court, 601 Market Street, Philadelphia,
Pennsylvania.

☒ Detained Federal Inmate: The U.S. Marshal shall have the defendant present for this court
proceeding.

☐ Bail Status: The defendant is on bail. A Court Security Officer shall be assigned to this
proceeding.

☐ Court Summons: This Notice serves as a summons to appear in court. If the defendant is on bail
or supervision and fails to appear as directed, the presiding judge may issue a bench warrant.

☐ Interpreter: A      interpreter will be required for the defendant.
☒ Hearing rescheduled from: January 30, 2023

For additional information, please contact the undersigned.

                                                  Michael Coyle,
                                                  Deputy Clerk to Judge Pratter

                                               Notice to:
                                                 Defendant
                                                 Mark E. Cedrone, Esq., Defense Counsel
                                                 Everett R. Witherell, A.U.S.A.
                                                 Kelly M. Harrell, A.U.S.A.
                                                 U.S. Marshal
                                                 Probation Office
                                                 Pretrial Services
                                                 Interpreter Coordinator
